Case 3:16-cv-00076-NKM-JCH Document 31 Filed 03/28/17 Page 1of3 Pageid#: 86

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

CHARLOTTESVILLE DIVISION

 

)

FITZGERALD, Angela C. )
)

Plaintiff, )

)

v. ) Civ. No: 3:16-cv-00076-NKM

)

LITTLEJOHN’S ENTERPRISES, LLC, )
)

and COLLEEN STRONG )
)

)

Defendants. )

)

 

JOINT MOTION TO APPROVE SETTLEMENT AND WAIVER OF HEARING

Plaintiff, Angela C. Fitzgerald (“Plaintiff”), and Defendants, Littlejohn’s Enterprises,
LLC and Colleen Strong (“Defendants”) (collectively “the Parties”), through their respective
undersigned counsel, hereby request that the Court approve the settlement between them that will
dispose of this action in its entirety. The Court’s supervision of the settlement of this Fair Labor
Standards Act (“FLSA”) case is necessary to ensure that this lawsuit is finally resolved in a
binding manner pursuant to Brooklyn Savings Bank v. O'Neil, 324 U.S. 697 (1945), and
Barrentine v. Arkansas Best Freight Sys., 450 U.S. 728 (1981).

Plaintiff and Defendants, through undersigned counsel, represent to the Court as follows:

1. This action was initiated by Plaintiff under the FLSA. Plaintiff alleges that she worked

for the Defendants as a sandwich maker for approximately four months, from March 2015 to
July 2015. Plaintiff filed a Complaint seeking relief and recovery against Defendants for alleged

violations of the minimum wage requirements and anti-retaliation provision of the FLSA.
Case 3:16-cv-00076-NKM-JCH Document 31 Filed 03/28/17 Page 2 o0f3 Pageid#: 87

2. The Parties have exchanged documentation regarding hours worked, governing
precedent, and damage calculations.

3. The Parties, with the assistance of counsel and under the auspices of the Court’s
mediation program facilitated by Magistrate Judge Joel C. Hoppe, have reached a proposed
settlement in the above-captioned matter that each party believes represents a fair and just
resolution based on the facts of the case.

4. The Parties have submitted a copy, attached as Exhibit A, of the settlement agreement in
this case.

5. Plaintiff understands that by entering into the settlement agreement, and for good
consideration, and subject to this Court’s approval, she is agreeing to dismiss this action with
prejudice pursuant to Fed. R. Civ. P. 41(a)(1) following completion of the terms of the settlement
including payment of the full settlement amount.

WHEREFORE, the Parties respectfully request that the Court approve the settlement they

have reached without a hearing and stay this action pending completion of the settlement terms.

Dated: March 28, 2017

Respectfully submitted,

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Case 3:16-cv-00076-NKM-JCH Document 31 Filed 03/28/17 Page 30f3 Pageid#: 88

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